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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

LATONYA DAWSON
1636 E. 30th Street
Baltimore, MD 21218

       Plaintiff
v.                                                           Case #
                                                             JURY TRIAL DEMANDED
HOUSING AUTHORITY OF
BALTIMORE CITY
417 E Fayette St
Baltimore, MD 21202

and

WADE JOHNSON
7606 Tamsin Court
Baltimore, MD 21237


                                         COMPLAINT

       Comes now the Plaintiff, Latonya Dawson, by and through counsel, Cary J. Hansel,

Erienne A. Sutherell, Hansel Law, PC, and Annie B. Hirsch of Hirsch and Cosca, PC and sues

the above-named defendants, stating as follows:

                                       INTRODUCTION

       1.      This lawsuit is being filed as a result of persistent sexual abuse and harassment

perpetrated by a supervisor against Latonya Dawson in the workplace. The Housing Authority

of Baltimore City knew or had reason to know that Maintenance Superintendent Wade Johnson

had a history of inappropriate sexual behavior in the workplace yet hired and continued to

employ him to act in a supervisory capacity. His continued, daily sexual comments advances

created a hostile work environment for the Plaintiff and other women under his supervision.
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        2.      The workplace sexual abuse and harassment perpetrated by Wade Johnson took

place in the context of the rampant abuse in the Gilmor Homes and other Housing Authority of

Baltimore City (“Housing Authority”) properties, where maintenance employees also

shamelessly preyed on innocent female tenants in widespread sex-for-repairs quid pro quo sexual

harassment. As in that case, supervisors attempted to cover up the harassing behavior.

        3.      The practice of covering up sexual harassment by maintenance workers is so

widespread that it is a pattern and practice by the Housing Authority, whose officials have

repeatedly turned their backs on city residents and on their own employees. For years, the

Housing Authority of Baltimore City has ignored numerous complaints and repeatedly allowed

abusers to maintain their positions of power.

        4.      Wade Johnson’s sexually harassing behavior was nearly a daily occurrence in the

workplace which caused Latonya Dawson extreme mental duress, affected her ability to work

productively, affected her family life, put her in fear of losing her job, and put her in fear that he

would one day increase his sexual aggressiveness and do her harm.

                                          JURISDICTION

        5.      Jurisdiction is proper in this Honorable Court under 28 U.S. Code § 1331 because

this is a civil action arising under the Constitution, laws, or treaties of the United States.

                                               VENUE

        6.      Venue is proper in this Honorable Court under 28 U.S.C. § 1391 because the

parties are domiciled in Maryland, or organized under Maryland law, and the events at issue took

place in Baltimore, Maryland.




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                                                PARTIES

        7.        Latonya Dawson is an adult citizen of Baltimore, Maryland.

        8.        The Housing Authority of Baltimore City is a public body corporate and politic

created under the laws of the State of Maryland.

        9.        The Housing Authority of Baltimore City is sui juris.

        10.       The Housing Authority of Baltimore City is an agency of the City of Baltimore.

                               FACTS COMMON TO ALL COUNTS

        11.       Latonya Dawson (“Ms. Dawson”) is a 44 year-old female employee of the

Housing Authority of Baltimore City.

        12.       Ms. Dawson has been employed by the Housing Authority since 1994, and at all

times relevant to this action held the position of Maintenance Clerk.

        13.       In February of 2016, Mr. Wade Johnson (“Mr. Johnson”) began sexually

harassing Ms. Dawson, which continued up until June 9, 2016.

        14.       Ms. Dawson was working at the Gilmor Homes location, where Mr. Johnson had

been relocated to and was acting as Ms. Dawson’s supervisor. Plaintiff believes Mr. Johnson was

transferred to Gilmor as a result of his inappropriate behavior at Duncanwood.

        15.       In February of 2016, Mr. Johnson began making sexually explicit and lewd

comments to Ms. Dawson on nearly a daily basis, making statements about her breasts, buttocks,

lips, and hair.

        16.       Between February of 2016 and June of 2016, Mr. Johnson made the following

sexually harassing comments to her:

        a.        That her “titties are sitting up nice and high”;

        b.        He wished he could be the chair for her to sit on;

        c.        “I wish I had those lips wrapped around me.”;

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       d.      “Those are sexual bedroom eyes”;

       e.      That he would “love to ride that trunk”;

       f.      That Ms. Dawson had a “lot of junk in her trunk.”;

       g.      When stating that she needed a new cushion for her office chair, Mr. Johnson said

“It seems to me you have enough cushion already in that chair.”

       17.     In addition to the specific comments outlined, Mr. Johnson would frequently

comment about Ms. Dawson’s clothing.

       18.     As a result, Ms. Dawson began wearing a baggier uniform to hide her figure

more, even though her uniform was already modest and unrevealing.

       19.     Ms. Dawson also heard Mr. Johnson making comments about other female

employees appearances and remarking about their bodies.

       20.     Ms. Dawson dismissed all of Mr. Johnson’s comments and refused to reciprocate

the sexually inappropriate behavior.

       21.     Ms. Dawson refused to give into Mr. Johnson’s lewd comments and did not

respond to his sexually suggestive comments and conduct.

       22.     Mr. Johnson repeatedly tried to force his personal cell phone number on Ms.

Dawson, but she refused to accept it.

       23.     Because Ms. Dawson refused to respond to Mr. Johnson’s sexual harassment, Mr.

Johnson retaliated against her and told her that she had to resign from her second job as a

crossing guard.

       24.     Ms. Dawson was fearful of losing her job with the Department of Housing, so she

complied and quit her second job.




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        25.     Also because of Ms. Dawson refusing to flirt back or otherwise respond directly

to Mr. Johnson when he would make sexually harassing comments to her, Mr. Johnson

threatened that she would lose her recently acquired promotion.

        26.     Because of these threats, Ms. Dawson was originally reluctant to make a

complaint against Mr. Johnson, who was her supervisor, as she was fearful of losing her job or

other retaliation by Mr. Johnson.

        27.     Ms. Dawson’s work environment was severely altered by Mr. Dawson’s daily

harassment of her.

        28.     Ms. Dawson purposefully went out of her way to avoid having to see Mr.

Johnson, because nearly every time she passed by him or saw him while at work, he harassed

her.

        29.     Ms. Dawson avoided hallways, break rooms, and other locations where she knew

Mr. Johnson may be, and would stay in her office to keep from having to see him.

        30.     Ms. Dawson also learned that Mr. Johnson was the cousin of a Human Resources

Director working for the Housing Authority, Mona Brown, which further hindered her ability to report the

behavior.

        31.     Ms. Dawson learned of other women in the office being sexually harassed by Mr.

Johnson and made a formal complaint in June 2016.

        32.     During the investigation of Mr. Johnson’s behavior, it was learned that several

people from several different departments had complained of or were aware of Mr. Johnson’s

constant inappropriate sexual commentary at multiple Housing Authority sites.

        33.     The Defendant Housing Authority knew of Mr. Johnson’s unlawful behavior yet

continued to employ him, without discipline.



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        34.      Ms. Dawson timely filed with the EEOC, which issued a Dismissal and Notice of

Rights letter.

        35.      Wade Johnson was, at all times relevant to the instant action, an employee of the

Housing Authority of Baltimore City, acting under color of State and local law.

        36.      Wade Johnson knew or should have known that his sexual advances were

unwelcome.

        37.      At all times relevant hereto, the Housing Authority of Baltimore City knew or

should have known of the harassment and abuse taking place in their workplace. Ample notice

was provided by Mr. Johnson’s previous history of workplace sexual harassment; Mr. Johnson

was fired from a previous job in the public schools for sexual harassment and had pending sexual

harassment cases at the Health Department.

        38.      The Housing Authority failed to make adequate inquiries into Mr. Johnson’s prior

employment and failed to enact effective policies to keep him from serially harassing multiple

people at multiple locations while under their employ.

        39.      Mr. Johnson was well-known for engaging in inappropriate conversations in the

workplace and this behavior may have contributed to the decision to transfer him from different

job sites and locations.

        40.      The abuses outlined herein are not limited Ms. Dawson; she was present for the

sexual harassment by Mr. Johnson of other co-workers.

        41.      The Plaintiff has suffered severe mental pain, suffering and anguish as a result of

all of these abuses. This mental pain manifests itself as evidenced by physical symptoms such as

loss of sleep, nervousness, and panic attacks. The Plaintiff has experienced depression and

anxiety related to the harassment and abuse by Mr. Johnson.



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        42.     Plaintiff has suffered from a hostile work environment created by the defendants.

The Plaintiff was subject to a hostile environment repeatedly through lewd and lascivious

requests and comments from her supervisor both openly and in close physical proximity.

Plaintiff feared being in the presence of her harasser and felt intimidated by him.

        43.     Defendants have subjected Ms. Dawson to discrimination on the basis of sex,

including severe, pervasive, and unwelcome sexual harassment, on multiple occasions. Such

conduct has included, but is not limited to, making unwelcome sexual comments and unwelcome

sexual advances.

        44.     The discriminatory incidents described herein occurred while Wade Johnson was

exercising his authority as a supervisory employee of the Housing Authority.

        45.     Defendant Housing Authority is liable for the actions of Wade Johnson. The

Housing Authority hired Wade Johnson, knew or should have known of his history of workplace

sexual harassment, knew or should have known of his discriminatory conduct, had the authority

to take preventive and corrective action, and failed to take reasonable preventive or corrective

measures.

        46.     Defendants’ conduct described above constitutes a pattern or practice of

resistance to the full enjoyment of the rights granted by the Civil Rights Act, 42 U.S.C. §§ 2000,

et seq. which denial raises an issue of general public importance.

        47.     Defendants’ conduct was intentional, willful, and taken in reckless disregard of

the rights of others.

        48.     All conditions precedent to filing suit have been met.




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                                     CLAIMS FOR RELIEF

                           COUNT I – CIVIL RIGHTS ACT
                   HOSTILE ENVIRONMENT SEXUAL HARASSMENT

       49.     Plaintiff adopts and incorporates by reference each and every allegation contained

elsewhere herein verbatim with the same effect as if herein fully set forth.

       50.     The Plaintiff is a woman and, thus, a member of a protected class.

       51.     Plaintiff was employed by the Housing Authority at all times relevant to the

instant action and is still so employed.

       52.     Plaintiff was repeatedly subjected to unwelcome and offensive comments,

suggestions, and invitations by Wade Johnson.

       53.     Wade Johnson’s harassing behavior was based on Plaintiff’s sex and the

inappropriate conduct was unwarranted and unwanted by Plaintiff.

       54.     The harassment occurred with a high frequency involving daily or near-daily

occurrences, demands, and statements.

       55.     The harassment often rises to the level of being physically threatening or

humiliating, with Mr. Johnson whispering lewd comments directly into Plaintiff’s ear, making

lewd statements and inappropriate suggestions out loud where other coworkers can hear him.

       56.     Mr. Johnson acted with ill-will and improper motive, furthering his prurient self-

interest in subjecting Ms. Dawson to his sexual harassment.

       57.     The harassment was sufficiently pervasive and severe as to alter the conditions of

Plaintiff’s employment and to create a hostile, intimidating, and/or abusive work environment

and has the effect of unreasonably interfering with Plaintiff’s employment.

       58.     Defendant Housing Authority allowed Mr. Johnson to sexually harass Plaintiff

and/or failed to take immediate and appropriate corrective action when notified about Mr.

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Johnsons’ sexually harassing behavior and/or hired Mr. Johnson knowing his history of

workplace sexual harassment.

         59.   Defendants aforementioned actions constitute discrimination, on the basis of

Plaintiff’s sex, with respect to the terms, conditions, or privileges of Plaintiff’s employment.

         60.   As a result of the defendants’ actions, the Plaintiff suffered and continues to suffer

severe mental anguish as well as physical pain and suffering.

         61.   Plaintiff is entitled to compensatory and punitive damages and attorneys’ fees and

costs.

         WHEREFORE, the Plaintiff demands ONE MILLION DOLLARS ($1,000,000.00) in

compensatory damages, punitive damages in an amount to be determined by a jury, costs and

attorneys’ fees, and such other relief as this Honorable Court deems appropriate.

                             COUNT II – CIVIL RIGHTS ACT
                          QUID PRO QUO SEXUAL HARASSMENT

         62.   Plaintiff adopts and incorporates by reference each and every allegation contained

elsewhere herein verbatim with the same effect as if herein fully set forth.

         63.   Sex or sexual favors were demanded of the female Plaintiff by the supervisor in

control of her employment. These demands were unwelcome. Similar demands were not made

of male residents.

         64.   Plaintiff was concerned that she would lose her job if she reported or resisted the

actions of Wade Johnson.

         65.   Mr. Johnson acted with ill-will and improper motive, furthering his prurient self-

interest in subjecting Ms. Dawson to his sexual harassment and quid pro quo demands.

         66.   As a result of the defendants’ actions, the Plaintiff suffered and continues to suffer

severe mental anguish as well as physical pain and suffering.

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         67.   Plaintiff is entitled to compensatory and punitive damages and attorneys’ fees and

costs.

         WHEREFORE, the Plaintiff demands ONE MILLION DOLLARS ($1,000,000.00) in

compensatory damages, punitive damages in an amount to be determined by a jury, costs and

attorneys’ fees, and such other relief as this Honorable Court deems appropriate.

                                 COUNT III – CIVIL RIGHTS
                                 ACT DUE PROCESS CLAIM

         68.   Plaintiff adopts and incorporates by reference each and every allegation contained

elsewhere herein verbatim with the same effect as if herein fully set forth.

         69.   The Defendants were, at all relevant times, acting “under color of law,” pursuant

to Baltimore City’s charter, codes, ordinances and regulations, the laws of the State of Maryland,

and the Constitution of the United States.

         70.   The Plaintiff was deprived of her Constitutional rights as well as her rights as

described above under the Civil Rights Act, a federal statute.

         71.   With respect to the United States Constitution, the Plaintiff was denied the right to

due process of law insofar as her employer, a government agency, hired and continued to employ

a known sexual harasser to act as her supervisor and as an agent of the government.

         72.   The Plaintiff has a liberty interest in the right to be secure in her person in the

workplace. This interest was violated when Mr. Johnson physically touched the Plaintiff and/or

approached the Plaintiff to make lewd comments in her ear, threatening her physical safety and

security, and creating a hostile environment through continued and excessive sexual harassment.

         73.   There are no adequate procedural safeguards in place to prevent this abuse.




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       WHEREFORE, the Plaintiff demands ONE MILLION DOLLARS ($1,000,000.00) in

compensatory damages, punitive damages in an amount to be determined by a jury, costs and

attorneys’ fees, and such other relief as this Honorable Court deems appropriate.

                               COUNT IV – CIVIL RIGHTS
                            ACT EQUAL PROTECTION CLAIM

       74.     Plaintiff adopts and incorporates by reference each and every allegation contained

elsewhere herein verbatim with the same effect as if herein fully set forth.

The female Plaintiff was treated differently than her similarly-situated male counterparts, based

solely on her sex.

       75.     The Plaintiff was singled out for harassment by the defendants. Similarly situated

males suffer no similar harassment.

       76.     There is not a rational basis, legitimate state purpose, or compelling governmental

interest in the harassment and discrimination at issue.

       77.     The Plaintiff was being intentionally singled out because of her sex. As such, she

is a member of a suspect classification and the harassment must be viewed with strict scrutiny.

       78.     The harassment at issue interferes with the Plaintiff’s fundamental rights to

physical security, to be secure in her workplace and to privacy.

       WHEREFORE, the Plaintiff demands ONE MILLION DOLLARS ($1,000,000.00) in

compensatory damages, punitive damages in an amount to be determined by a jury, costs and

attorneys’ fees, and such other relief as this Honorable Court deems appropriate.




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                            JURY TRIAL DEMAND

The Plaintiff demands trial by jury.

                                       Respectfully submitted,

                                       HANSEL LAW, PC

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